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                                                                                          FILED _
                                                                                      IN OPEN COURT




                 IN THE UNITED STATES DISTRICT COURT FOR THEc^rnK, U.S. CiSTRir:! COURT
                         EASTERN DISTRICT OF VIRGINIA          •            vnGiLiA—
                                      Alexandria Division


 UNITED STATES OF AMERICA

         V.                                           No. I:24-cr-91-AJT


 JASON BANKS,

         Defendant.



                                  STATEMENT OF FACTS


       The United States and the defendant, JASON BANKS (hereinafter,"defendant" or

"Banks"), agree that at trial, the United States would have proven the following facts beyond a

reasonable doubt with admissible and credible evidence:


       1.      From at least in or about August 2021 through at least in or about July 2022, in the

Eastern District of Virginia and elsewhere, the defendant did knowingly combine, conspire,

confederate and agree with Odyssey Haleemah Wilhoit ("Odyssey"), and others, known and

unknown (collectively referred to as "coconspirators"), to execute a scheme or artifice to obtain

the money, funds, credits, assets, securities, or other property under the custody or control of a

financial institution by means of fraudulent pretenses, representations, and promises in violation

oflSU.S.C. § 1349.

       2.      From at least August 2021 through at least July 2022, Banks resided in

Woodbridge, Virginia and elsewhere within the Eastern District of Virginia.

       3.      To achieve the object of the conspiracy. Banks and his coconspirators engaged in

the following conduct in the Eastern District of Virginia and elsewhere:
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       4.      Odyssey and other coconspirators created fraudulent checks, by altering stolen

checks or creating new fraudulent checks using stolen checks' information such as the payee,

address of payee, account number ofthe payee, and routing number ofthe bank.

       5.     To continue and succeed, the conspiracy needed multiple bank accountholders who

allowed the fraudulent checks to be deposited into their bank accounts.

       6.     Banks would participate in the conspiracy by recruiting others who would share

their bank account, PIN and personally identifying information with him. Banks provided this

personally identifying information and bank account information to Odyssey. He often texted

Odyssey the bank accountholder's name,social security number,address and the login information

associated with their bank account. Banks acted as a "middleman" throughout the conspiracy and

was referred to as Odyssey's "middleman."

       7.     Banks     recruited    Accountholder-1,     Accountholder-2,    Accountholder-3,

Accountholder-4 and others (hereinafter, the "accountholders") to share their bank account

information with him.


       8.      At least one time, Odyssey supplied at least one fraudulent paper check

to Banks or the other coconspirators. Banks or another coconspirator would travel to the

bank to deposit the fraudulent checks. Banks also directed other coconspirators' travel to the

bank and ensured that they received the fraudulent checks by either providing them with the

fraudulent checks himself or connecting the coconspirators to Odyssey.

       9.       Significantly    more   often,   using   the   information   provided   by   the

accountholders, Odyssey electronically deposited the fraudulent checks into one of the

accountholders' bank accounts.
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       10.     The accountholders would often send text messages to Banks ofscreenshots oftheir

account balances or confirmation emails showing the deposit of the fraud proceeds into their

accounts. Banks would then forward these confirmation screenshots to Odyssey.

       11.     On or about the following dates, Banks helped coordinate the deposit of the

following fraudulent checks that had been altered to change the payee and amount:

                                                                                       Altered
    Check Date         Check No.   Victim Account Holder(s)      Altered Payee
                                                                                      Amount


 December 9,2021           42867        D.F.S. and C.S.         Accountholder-5      $8,139.37

December 13, 2021          12164              J.P.              Accountholder-6      $11,924.00

 January 18,2022           3652              R.W.               Accountholder-7      $11,000.00


       12.     After the fraud proceeds were deposited into the accountholders' bank accounts,

Banks coordinated transfers of the fraud proceeds from the accountholders' bank accounts to

himself. Once the fraud proceeds reached Banks' CashApp or Apple Pay accounts, he generally

took a percentage ofthe fraud proceeds for himself and forwarded the rest ofthe funds to Odyssey

or other coconspirators.

       13.    For example, on or about January 24 through January 25, 2022, Accountholder-7,

who received an $11,000 deposit from a fraudulent check in his bank account on January 24,2022,

sent 11 Apple Pay transfers, including 5 successful transfers and 6 failed transfers, to Banks
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totaling approximately $8,500. Of the $8,500 that Accoimtholder-7 attempted to transfer, $4,000

was transferred successfully to Banks.

         14.   Over the course of the conspiracy, Banks participated in or directed at least 14

fraudulent transactions during the bank fraud scheme. The loss associated with these fraudulent

checks was at least $55,000. Banks knew that the fraudulent checks attempted to withdraw funds

from at least 10 victims' accounts. The overall bank fraud conspiracy caused an actual loss of at

least $501,096.15. Banks recruited at least four people to provide their bank account and personally

identifying information to the conspirators and shared the personal identifying information of at

least 25 individuals, some of which were identity theft victims, with Odyssey. Banks also

generally managed and oversaw the actions of the accountholders like Accountholder-1,

Accountholder-2, Accountholder-3, and Accountholder-4.

         15.   This statement offacts includes those facts necessary to support the plea agreement

between the defendant and the United States. It does not include each and every fact known to

the defendant or to the United States, and it is not intended to be a full enumeration of all of the

facts surrounding the defendant's case.

         16.   The actions of the defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.


                                               Respectfully submitted,

                                               Jessica D. Aber
                                               United States Attorney


 Date:
                                               Kathleen E. Robeson
                                               Kimberiy M. Shartar
                                               Assistant United States Attorneys
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       After consulting with my attorney and pursuant to the plea agreement entered into this day

between the defendant, JASON BANKS,and the United States, I hereby stipulate that the above

Statement ofFacts is true and accurate, and that had the matter proceeded to trial, the United States

would have proved the same beyond a reasonable doubt.




       I am Mark Petrovich, the defendant's attorney. I have carefully reviewed the above

Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is an

informed and voluntary one.



                                                    Petrovich
                                              Attorney for JASON BANKS
